       EXHIBIT C



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                                                                Government Employees Insurance Company


               One GEICO Center
               Macon, GA 31295-0001



               Telephone: 1-866-272-5192                            Policy Number:
               Fax: 1-855-238-8055


               10/06/17




               Start of Mailing Address Lines




    Dear GEICO Policyholder,
        Enclosed you will find renewal papers for your GEICO Personal Umbrella Policy. You can feel comfortable
    knowing that you and your loved ones have continued protection from the catastrophic legal defense costs or
    losses that could easily result from an unexpected claim.
        Please take a few minutes now to review the provisions of your policy. It's very important that you
    understand your coverages and make sure your policy still meets your needs. If your circumstances have
    changed, such as you purchased a boat, or added a home office, or changed your homeowner insurance
    company, please let us know. If you have any questions, or want to make changes, please call us at
    1-866-272-5192.
         GEICO works very hard to keep rates as low as possible. We vigorously defend against frivolous lawsuits,
    fight fraudulent claims, closely scrutinize medical bills and reports, and actively participate in efforts to promote
    home, highway and vehicle safety.
         However, all our efforts mean little without your help. Please drive defensively, and don't allow cell phones
    and other distractions to cause you to lose focus on the critical driving task. Always remember to wear your seat
    belt, and make sure your passengers do the same. Obey the speed limits, and of course, don't drink and drive.
        Do everything you can to make sure your home is safe and secure.
       Consider increasing the limits of your umbrella policy up to $10 million if you believe you need increased
    coverage. If you qualify, you may find the additional premium a worthwhile investment in protecting your assets.
         We appreciate your business and will continue to deliver the same high quality service that you have come
    to expect from GEICO. Our round-the-clock service is there when you need to file a claim, update your policy or
    just ask a question. Call our experienced representatives at 1-866-272-5192 any time. Just have your policy
    number handy and we'll be more than happy to help you.
                                                                Sincerely,




                                                                O. M. Nicely
                                                                 President


PXLRN (8-05)
                  Case 4:22-cv-00082-FJG Document 1-3 Filed 04/07/21 Page 2 of 21
    GOVERNMENT EMPLOYEES INSURANCE COMPANY                      GEICO'S PERSONAL
    ONE GEICO PLAZA, WASHINGTON, D.C. 20076                     UMBRELLA POLICY
                                                                    Renewal Declarations



         POLICY NO

    Policy Period From 11/26/17 To 11/26/18                        PHC RE-KS- 10/06/17
          INSURED NAME AND ADDRESS




    THIS POLICY IS EFFECTIVE AT 12:01 A.M. STANDARD TIME AT THE RESIDENCE OF THE INSURED. INSURANCE
    IS PROVIDED WITH RESPECT TO THE FOLLOWING COVERAGES AND LIMITS SPECIFIED WHERE A PREMIUM
    IS STATED, SUBJECT TO ALL CONDITIONS OF THIS POLICY.
    I.    LIMIT OF LIABILITY      $1,000,000

    II. RETAINED LIMIT            $500

    III. RATING INFORMATION                     IV. PREMIUM            V. MINIMUM REQUIRED
                                                                              LIMITS OF
                                                                          PRIMARY INSURANCE

    AUTOMOBILE                                 $     54.00        $ 300,000/300,000/100,000
    2014 HYUNDAI
    PRIMARY RESIDENCE                          $     53.00        $ 300,000

    UNINSURED MOTORIST                         $     55.00        $ 300,000/300,000
    TOTAL PREMIUM                              $    162.00




    HU1 (6-80)                                                                                  (P1)
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*
                                GOVERNMENT EMPLOYEES INSURANCE COMPANY
                                  ONE GEICO PLAZA, WASHINGTON, D.C. 20076
POLICY NO                                                                       PHC RE-KS- 10/06/17
                                           FORMS AND ENDORSEMENTS

PPA1                  (07-00)           Personal Umbrella Liability
PPE11                 (07-00)           Policy Amendment
PPE1KS                (10-08)           Policy Amendment
PPE1VS                (05-14)           Ride Sharing Amendment
PPE2KS                (04-01)           UM/UIM Amendment




IMPORTANT MESSAGES
Kansas law provides that convictions for a speed violation of 1-10 mph over the maximum posted speed limit
between 55-70 mph, prior to 7/1/2011, or posted speed of 55-75 mph after 7/1/2011, or for a speed violation of 1-6
mph over the maximum posted speed of 30-54 mph, do not need to be reported to your insurance company nor
shall your insurance company use the information to determine your rate or whether to cancel your policy.
Enclosed are your renewal papers.




OFFICE USE ONLY




HU1 (6-80)                                                                                                           (B1)
                Case 4:22-cv-00082-FJG Document 1-3 Filed 04/07/21 Page 4 of 21
                                  GEICO'S PERSONAL UMBRELLA POLICY
                              PERSONAL UMBRELLA LIABILITY INSURANCE
                                          AGREEMENT

We provide the insurance in this policy in return for payment of the premium when due and compliance with the
policy provisions.

PART I - DEFINITIONS                                        6. "Declarations" wherever used in this policy, means
                                                               the declarations page or pages for this policy.
   In this policy, "you" and "your" mean the insured
named in the declarations and spouse if a resident of       7. "Insured" means:
your household. "We", "us", and "our" mean the
Government Employees Insurance Company. Other                  (a) You and your spouse if a resident of your
words are defined as follows:                                      household; but with respect to an auto you do
                                                                   not own or lease which is furnished for regular
1. "Auto" means:                                                   use by you or your spouse, coverage applies
    (a) an owned or non-owned auto as defined in your              only if the auto is insured by a primary auto
        primary automobile liability insurance policy; or          policy.
    (b) any other vehicle described in the policy              (b) Relatives residing in your household as well as a
        declarations.                                              household resident under age 21 in the care and
2. "Business" includes full-time or part-time trades,              custody of you or your spouse. With respect to
professions or occupations.                                        an auto, such person is an insured only if the
                                                                   auto is insured by a primary policy issued by us.
3. "Business property" means:
                                                               (c) Persons not defined in 7.(a). or 7.(b). above, if
    (a) any property on which business is conducted;               using an auto or watercraft owned or furnished
        and                                                        for the regular use of a person defined in 7.(a). or
    (b) any property containing more than two residential          7.(b). above, provided the use is with permission.
        units.                                                     With respect to an auto; such person is an
4. "Damages" means the total of:                                   insured only if the auto is insured by a primary
                                                                   policy issued by us.
    (a) damages an insured must pay:
                                                               (d) Any person or organization legally responsible
        (1) legally; or
                                                                   for the acts or omissions of a person for whom
        (2) by agreement with our written consent;
                                                                   coverage is afforded under the policy, while that
    because of personal injury or property damage                  person is using an auto or watercraft insured by
    covered by this policy.                                        a primary policy.
    (b) reasonable expenses an insured incurs at our           (e) Any person or organization legally responsible
        request in the:                                            for damages caused by animals owned by you,
        (1) investigation;                                         your spouse, and residents of your household
        (2) defense; and                                           who are relatives or persons under your care
        (3) settlement                                             and custody.

    of a claim or suit because of personal injury or           (f) The following are not "insureds":
    property damage covered by this policy.
                                                                   (1) the owner or lessor (or their agents or
    (c) "Damages" does not include:                                    employees) of:
        (1) salaries of an insured's regular employees;                (i) an auto;
            or                                                         (ii) recreational vehicle; or
        (2) expenses payable under Part V. of this                     (iii) watercraft
            policy; or
        (3) punitive or exemplary damages.                         loaned to or hired for use by you or on your
                                                                   behalf.
5. "Day care" means the care of persons other than an
insured or relative, performed by an insured or an
employee of an insured for monetary or other
compensation. Mutual exchange of day care services is
not considered as compensation.


                                                                                                 PPA1 (7-00)   Page 1 of 6
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        (2) a person other than an insured shown in           13. "Retained limit" is the amount of any damages an
            7.(a) or 7.(b) above using an auto or water       insured must pay for any occurrence resulting in per-
            craft while employed in the business of:          sonal injury or property damage which is not covered
                                                              by your primary insurance . The retained limit is as
            (i)      selling;
                                                              shown in item II of the declarations.
            (ii)     servicing;
            (iii)    repairing;                               14. "Watercraft" means a vessel intended for
            (iv)     maintaining;                             navigation on water. "Watercraft" as used in this policy
            (v)      parking;                                 does not include personal watercraft as defined in this
            (vi)     docking;                                 policy.
            (vii)    mooring; or
                                                              Any terms that are not specifically defined in this
            (viii)   storing
                                                              policy will follow the definitions of your primary
            autos or watercraft. This includes a person       insurance policy.
            other than an insured or organization             PART II - COVERAGE
            employing or engaging a person using the
            autos or watercraft in the above activities.           We pay damages on behalf of an insured arising out
                                                              of an occurrence, subject to the terms and conditions of
        (3) a person or organization with custody of          this policy.
            animals owned by an insured in 7.(a) or
                                                              PART III - EXCLUSIONS
            7.(b) above, in the course of any business or
            without the consent of an insured in 7.(a) or     We do not cover damages resulting from:
            7.(b) above.                                      1. Personal injury to a person eligible for payments
    As regards 7.(b), 7.(c) and 7.(d) above, if the auto is   voluntarily provided by an insured or required to be pro-
not an owned auto or non-owned auto as defined in your        vided under:
primary automobile liability insurance policy, but is             (a) workers' compensation laws:
described on this policy's declarations, the required             (b) non-occupational disability laws; or
primary insurance need not be issued by us.                       (c) occupational disease laws.
8. "Occurrence" means an accident or event, including         2. The ownership, maintenance, use, loading or un-
a continuous or repeated exposure to conditions which         loading of any aircraft. Model or hobby aircraft are not
results in personal injury or property damage neither         excluded if not designed to carry people or cargo.
expected or intended by you.                                  3. The rendering of or failure to render professional
9. "Personal injury" means:                                   services.
    (a) mental or bodily injury, shock, sickness, disease     4. Acts committed by or at an insured's direction with
        or death including care and loss of services; or      intent to cause personal injury or property damage.
                                                              This exclusion does not apply to personal injury or
    (b) injury arising out of:                                property damage resulting from an act committed by
        (i) false arrest, detention or imprisonment, or       an insured with reasonable and legally permissible
              malicious prosecution; or                       force to protect persons and property from injury or
        (ii) libel, slander, defamation, humiliation, or a    damage. This exclusion also does not apply to Part I.,
              publication or utterance in violation of a      Item 9(b).
              person's right of privacy not arising out of
                                                              5. Business pursuits or business property of an in-
              any business pursuit of any insured; or
                                                              sured unless covered by primary insurance described
        (iii) wrongful entry or eviction, or other invasion
                                                              in the declarations. Our coverage is no broader than the
              of the right of private occupancy.
                                                              primary insurance except for our liability limit.
10. "Personal watercraft" means watercraft specifi-
                                                              6. The ownership, maintenance, use, loading or un-
cally designed to hold four or fewer persons and pro-
                                                              loading of any watercraft owned by an insured. This
pelled by a jetpump and/or impeller.
                                                              exclusion does not apply:
11. "Primary insurance" means insurance:
                                                                  (a) if on the policy's effective date, the watercraft is
    (a) for which a minimum required liability limit is               covered by primary insurance and a premium is
        shown on the declarations; and                                shown in the declarations; or
    (b) which is payable on behalf of an insured for li-
                                                                  (b) if we are informed within 30 days after the wa-
        ability for personal injury or property damage;
                                                                      tercraft is obtained and is covered by primary
        and
                                                                      insurance and an additional premium is paid to
    (c) which must be maintained as a condition of this
                                                                      us; or
        policy.
12. "Property damage" means damage to or loss of use
of tangible property.
                                                                                                    PPA1 (7-00)   Page 2 of 6
                     Case 4:22-cv-00082-FJG Document 1-3 Filed 04/07/21 Page 6 of 21
            (c) while the watercraft is stored.                20. Any of the following causes:
    A premium need not be shown in the declarations if             (a) the eating of paint that has lead in it;
the required primary insurance is a Homeowners policy.             (b) the eating of paint that has lead compounds in it;
7. Property damage to:                                             (c) the inhalation of paint that has lead in it;
                                                                   (d) the inhalation of paint that has lead compound
    (a) property owned by an insured; or                               in it;
    (b) aircraft or watercraft rented to, used by, or in the       (e) radon or any other substance that emits
        care of an insured; or                                         radiation; or
    (c) property rented to, used by, or in the care of an          (f) the discharge, disposal, release or escape of:
        insured.
                                                                         (i)     vapors or fumes; or
8. Personal injury or property damage for which an                       (ii)    gas or oil; or
insured under this policy is also insured under a nuclear                (iii)   toxic chemicals, liquids or gas; or
energy liability policy. This includes a policy which would              (iv)    waste materials; or
cover damages but for its termination because the limits                 (v)     irritants, contaminants or pollutants
of liability were exhausted. A nuclear energy liability
                                                                   including liability imposed by law.
policy is a policy issued by:
                                                               21. The ownership, maintenance, use, loading or
    (a) Nuclear Energy Liability Insurance Association;
                                                               unloading of personal watercraft.
    (b) Mutual Atomic Energy Liability Underwriters;
    (c) Nuclear Insurance Association of Canada                22. The ownership, maintenance, use, loading or
or any of their successors.                                    unloading of a snowmobile.
9. Liability arising from serving on a board of directors,     PART IV - LIMITS OF LIABILITY
or as an officer of an organization. This exclusion does            Regardless of the number of insureds, claims or
not apply if the service is performed for a charitable,        injured persons, the most we pay as damages resulting
religious or civic non-profit organization and for which       from one occurrence, including damages for care and
the insured receives no compensation.                          loss of services, shall not exceed the amount in Item 1.
10. Personal injury to any insured.                            of the declarations, subject to the following:
11. The transmission of a communicable disease by              1. If both primary insurance and this policy cover an
an insured.                                                    occurrence , we pay only those damages which exceed
12. Personal injury or property damage resulting from          the liability limits in Item V. of the declarations, or any
an uninsured or underinsured motorist claim unless a           applicable primary policy, whichever is greater.
premium is shown for the uninsured or underinsured             2. If primary insurance is not in force at the time of
motorist coverage in the declarations.                         loss, or its liability limits are less than shown in Item V. of
13. Day care services unless covered by primary                the declarations, we pay only those damages which
insurance.                                                     exceed the liability limits in Item V. of the declarations.
14. Sexual molestation, corporal punishment or physical        3. If a primary insurer does not pay because of:
or mental abuse inflicted upon any person by or at the             (a) bankruptcy; or
direction of an insured, an insured's employee or any              (b) insolvency; or
other person at an insured's direction.                            (c) an insured's failure to comply with a provision of
15. The use of any motor vehicle or watercraft, other                  primary insurance;
than a sailboat, in preparing for or participating in any      we pay only those damages which exceed the liability
official or prearranged speed contest.                         limits in Item V. of the declarations, or any applicable
16. An award of punitive or exemplary damages.                 primary policy, whichever is greater.
17. War as defined in the underlying auto policy.              4. If an occurrence results in personal injury
                                                               or property damage, and:
18. The possession, use, sale or manufacture by any
person of a controlled substance as defined by the Fed-            (a) is not covered under the terms and conditions of
eral Food and Drug Law at 21 U.S.C.A., sections 811                    your primary insurance, but
and 812. This exclusion does not apply to the legitimate           (b) is covered by this policy,
use of prescription drugs as prescribed by a properly          we pay only those damages which exceed your
licensed medical practitioner.                                 retained limit.
19. The escape of fuel from a fuel system including
storage tanks located under or above the ground.




                                                                                                          PPA1 (7-00)    Page 3 of 6
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This insurance applies separately to each insured. This                 (1) how, when and where the occurrence took
provision shall not increase our liability limit for one                    place; and
occurrence.                                                             (2) names and addresses of the injured and all
PART V- DEFENSE OF SUITS NOT COVERED                                        witnesses.
BY OTHER INSURANCE                                                (b) If information regarding a claim is received or if
1. If the required primary insurance:                                 legal action is begun, an insured must
                                                                      immediately send us a copy of every:
    (a) is in force but does not cover personal injury or
        property damage due to the nature of the claim                  (1)   notice;
                                                                        (2)   demand;
        against you, and this policy does provide
                                                                        (3)   report;
        coverage, we will provide defense of suits in
                                                                        (4)   summons; or
        excess of the retained limit.
                                                                        (5)   other legal papers.
    (b) is in force but does not cover personal injury or
                                                                  (c) An insured must cooperate with us in the in-
        property damage for any other reason, and this
                                                                      vestigation, defense and settlement of a claim or
        policy does provide coverage, we have the right
                                                                      suit.
        to provide defense. But we are not obligated to
                                                                  (d) An insured must comply with the policy
        defend unless the personal injury or property
                                                                      provisions of the primary insurance.
        damage alleged in the suit exceeds the required
        limit of primary insurance shown in Item 5. of        2. Defense and Settlement. Except as provided in Part
        the declarations.                                     V., we are not required to take charge of the
                                                              investigation, defense or settlement of a claim or suit.
2. When we provide defense, we will:
                                                              We have the right at any time to join an insured or the
    (a) defend an insured against a claim or suit for         primary insurers in the investigation, defense and
        damages arising out of an occurrence. We may          settlement of a claim or suit. If the primary insurance
        investigate and settle a claim or suit we feel is     limit is paid, we have the option to defend a claim or
        appropriate;                                          suit. We may investigate and settle a claim or suit which
    (b) pay costs taxed against an insured in a suit we       we feel is appropriate.
        defend;
                                                              3. Appeals. We may appeal a judgment in excess of
    (c) pay interest accruing after a judgment is en-
                                                              the applicable primary insurance limit or the retained
        tered in a suit we defend; our duty to pay
                                                              limit. We pay all:
        interest ends when we offer to pay that part of
        the judgment which does not exceed our liability          (a)   costs;
        limit;                                                    (b)   taxes;
    (d) pay premiums on bonds required in a suit we               (c)   expenses; and
        defend; however, we will pay premiums for                 (d)   interest
        appeal bonds only from judgments from which           for which an insured is legally liable and which are not
        we authorize an appeal. The bond amounts shall        covered by a primary insurance policy. Our liability for
        not exceed our liability limit. We pay the cost of    damages does not exceed our liability limit for one
        bail bonds required of an insured because of an       occurrence plus the cost and expense of the appeal.
        accident or a traffic law violation. We are not
        required to apply for or furnish bonds;               4. Suit Against Us. No action shall be brought against
    (e) pay reasonable expenses an insured incurs at          us:
        our request in assisting us in the investigation or       (a) unless an insured has complied with the policy
        defense of a claim or suit. Expenses include                  provisions; and
        actual loss of earnings (not other income) up to          (b) until the obligation of an insured has been
        $100 per day or $5,000 total.                                 determined by trial and judgment or by
     We pay amounts incurred, except settlement of                    agreement signed by us.
claims or suits for damages, in addition to our liability         No one shall have a right to join us as a party to
limit.                                                        an action against an insured.
    An insured shall promptly repay us for damages we         5. Other Insurance. This insurance is excess over
paid within the retained limit.                               any insurance which covers a loss under:
PART VI - CONDITIONS                                              (a) your primary insurance; or
1. Duties after Occurrence, Claim or Suit                         (b) any other insurance policies.
    (a) If an occurrence is likely to involve us under this
        policy an insured shall promptly advise us of:



                                                                                                    PPA1 (7-00)   Page 4 of 6
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6. Our Right To Recover Payment . If payment is               If this policy is cancelled, any return premium will be
made by us, we will join an insured and any primary           refunded within a reasonable time after the cancellation
insurer in exercising an insured's rights of recovery         date. Payment or tender of unearned premium is not a
against any party. An insured shall not prejudice such        condition of cancellation. When we cancel, the return
rights after loss. Recoveries shall be made in the            premium will be pro-rated.
following order:                                                  (b) Non-Renewal
    (a) repay the parties (including an insured) who                  If we choose not to renew this policy, we will
        paid in excess of our liability limit;                        notify you in writing at least 30 days before the
    (b) repay us the amount we paid; and                              end of the policy period.
    (c) repay the parties (including an insured) to whom
                                                                  (c) Our notice may be delivered or mailed to you at
        this insurance is excess, if they are entitled to
                                                                      the address in the declarations.
        any remainder.
                                                                  (d) Proof of mailing is sufficient proof of notice.
A different distribution may be made to settle a claim or
suit if all parties agree.                                        (e) If any provision of 9.(a), (b), (c), or (d) above
                                                                      are in conflict with the law in your state, we
    Reasonable expenses of obtaining recovery shall
                                                                      will comply with that law.
be divided among all parties in the ratio of their losses
for which recovery is sought.                                 10. Changes. The terms of this policy may not
7. Assignment. Your rights and duties under this              be changed or waived except by endorsement by us.
policy shall not be assigned without our written consent.     11. Concealment or Fraud. We do not provide
8. Policy Period and Territory . We cover personal            coverage for an insured who purposely conceals or
injury and property damage which takes place                  misrepresents any material fact or circumstance
                                                              relating to this insurance.
anywhere during the time this policy is in force. If you
travel outside the United States, you must maintain the       12. Death. If you or a resident of your household
equivalent of your primary insurance. We pay only             dies, we cover:
those damages which exceed the liability limits in Item           (a) with respect to your property, the person in
V of the declarations, or any applicable primary policy,              temporary custody of the property until a legal
whichever is greater.                                                 representative is appointed.
9. Termination.                                                   (b) the legal representative of the deceased only but
   (a) Cancellation                                                   with respect to the property of the deceased
                                                                      covered under the policy at the time of death.
        You may cancel this policy by returning it to us
        or by notifying us in writing of the cancellation     13. Any terms of this policy in conflict with the statutes of
        date. Any return premium will be calculated on a       your state are amended to conform to those statutes.
        pro-rate basis.                                       14. You will maintain your primary insurance and
        We may cancel this policy for non-payment of          notify us of any changes in your primary insurance
        premium by notifying you in writing at least 10       within 30 days.
        days in advance.                                      15. In the event of a loss covered by this policy, we
        If this policy is not a renewal, and has been in      pay only those damages which exceed the limits of
        effect less than 60 days, we may cancel for any       liability shown in Item V. of the declarations or the
        reason by notifying you in writing at least 30        limits of liability shown in any applicable primary policy,
        days in advance.                                      whichever is greater.
        If this policy is a renewal, or has been in effect    16. Newly Acquired Property
        60 days or more, we may cancel:                            You agree with us, as a condition of coverage under
        (1) if there has been a material misrepresenta-       this policy, to:
            tion of fact, made by you or with your                (a) notify us within 30 days of the date you acquire:
            knowledge, which if known to us would have
            caused us not to issue the policy; or                     (1) property;
                                                                      (2) autos; or
        (2) if the risk has changed substantially since the
            policy was issued. Substantial change in risk             (3) watercraft or other recreational vehicles.
            includes failure to maintain the required
            primary insurance; or
        (3) If you fail to provide us with renewal,
            underwriting and rating data as we may
            require.



                                                                                                     PPA1 (7-00)   Page 5 of 6
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    Further, coverage shall not be afforded under this     are indicated on the declarations and primary
policy unless:                                             insurance is maintained with a minimum limit of liability
                                                           equal to the limits under Section V. of the declarations.
    (a) the newly acquired or additional:
        (1) property;
        (2) autos; or
        (3) watercraft or other recreational vehicles




               W. C. E. Robinson                                                    O. M. Nicely
                   Secretary                                                         President


                                      Government Employees Insurance Company
                                        HOME OFFICE - 5260 Western Avenue
                                         Chevy Chase, Maryland 20815-3799




                                                                                                PPA1 (7-00)   Page 6 of 6
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                            GEICO'S PERSONAL UMBRELLA POLICY AMENDMENT


Your policy is amended as follows:

PART III EXCLUSIONS

Exclusion 20. is deleted.


We affirm this amendment.




             W. C. E. Robinson                                            O. M. Nicely
                 Secretary                                                 President
                                 GOVERNMENT EMPLOYEES INSURANCE COMPANY
                                      HOME OFFICE - 5260 Western Avenue
                                       Chevy Chase, Maryland 20815-3799




                PPE11 (07-00)                                             Policy Number:
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                                                                     GEICO'S PERSONAL UMBRELLA
Government Employees Insurance Company                               POLICY AMENDMENT
Policy Number:                                                       KANSAS

Your policy is amended as follows:
PART I - DEFINITIONS
Definition 7. Insured is revised as follows:
Insured means:
(a) You and your spouse if a resident of your household. With respect to a motor vehicle, such person is an insured
    only if the motor vehicle meets the definition of auto in this policy and is insured by a primary auto policy.
(b) Relatives residing in your household as well as a household resident under age 21 in the care and custody of you or
    your spouse. With respect to a motor vehicle, such person is an insured only if the motor vehicle is insured by a
    primary policy and shown on the declarations of this Personal Umbrella Policy.
(c) Persons not identified in 7.(a). or 7.(b). above, if using an auto or watercraft owned or furnished for the regular use
    of a person defined in 7.(a). or 7.(b). above, provided the use is with permission. With respect to an auto, such
    person is an insured only if the auto is insured by a primary policy and shown on the declarations of this Personal
    Umbrella Policy.
(d) Any person or organization legally responsible for the acts or omissions of a person for whom coverage is afforded
    under the policy while that person is using an auto or watercraft insured by a primary policy and shown on the
    declarations of this Personal Umbrella Policy.
(e) Any person or organization legally responsible for damages caused by animals owned by you, your spouse, and
    residents of your household who are relatives or persons under your care and custody.
(f) The following are not insureds:
    (1) The owner or lessor (or their agents or employees) of:
         (i) An auto;
         (ii) Recreational vehicle; or
         (iii) Watercraft
         loaned to or hired for use by you or on your behalf.
    (2) A person other than an insured shown in 7.(a) or 7.(b) above using an auto or watercraft while employed in the
         business of:
         (i) Selling;
         (ii) Servicing;
         (iii) Repairing;
         (iv) Maintaining;
         (v) Parking;
         (vi) Docking;
         (vii) Mooring; or
         (viii)Storing
         autos or watercraft. This includes a person other than an insured or organization employing or engaging a
         person using the autos or watercraft in the above activities.
    (3) A person or organization with custody of animals owned by an insured in 7.(a) or 7.(b) above, in the course of
         any business or without the consent of an insured in 7.(a) or 7.(b) above.
The following definition is added:
Relative means a person related to you who resides in your household.
PART III - EXCLUSIONS
The following exclusions are revised as follows:
4. Acts committed by or at any insured's direction with intent to cause personal injury or property damage. This
    exclusion does not apply to personal injury or property damage resulting from an act committed by an insured
    with reasonable and legally permissible force to protect persons and property from injury or damage.
9. Liability arising from serving on a board of directors, or as an officer of an organization. This exclusion does not
    apply:
    (a) If the service is performed for a charitable, religious or civic non-profit organization; and
    (b) Coverage for the insured’s service is provided by primary insurance; and
    (c) The insured receives no compensation for such service.

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14. Sexual molestation, corporal punishment or physical or mental abuse inflicted upon any person by or at the direction
    of an insured, an insured's employee or a volunteer involved in the day care enterprise.
The following exclusions are added:
23. The renting, leasing or sale of any property that has been contaminated by mold or mold spores.
24. The maintenance, use, or ownership of any motorized vehicle that is designed for use principally off public roads.
25. Personal injury that results from attack by a dog, or resulting from the ownership, maintenance, or use of a
    swimming pool, diving board, or trampoline unless covered by primary insurance.
26. Personal injury or property damage that results from slander of title.
PART VI - CONDITIONS
Condition 8., Policy Period and Territory
The first sentence is replaced with the following:
    We cover personal injury and property damage which takes place anywhere during the time this policy is in force,
    however, we do not cover damages resulting from your ownership of real property located outside of the United
    States of America, its territories or possessions, or Canada.



We affirm this amendment.




                 W. C. E. Robinson                                                       O. M. Nicely
                     Secretary                                                            President




PPE1KS (10-08)                                     Policy Number:                                                Page 2 of 2
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                                                            GEICO'S PERSONAL UMBRELLA
                                                            POLICY AMENDMENT
Policy Number:



Your policy is amended as follows:
PART I - DEFINITIONS
The following definitions are added:
“Ride-sharing” means the use of any vehicle by any insured in connection with a transportation network company
from the time an insured logs on to or signs in to any computer or digital application or platform that connects or
matches driver(s) with passenger(s) until the time an insured logs out of or signs off of any such application or platform,
including while en route to pick up passenger(s) and while transporting passenger(s).
“Transportation network company” means a company or organization facilitating and/or providing transportation
services using a computer or digital application or platform to connect or match passengers with drivers for
compensation or a fee.
PART III - EXCLUSIONS
The following exclusion is added:
We do not cover damages resulting from any vehicle :
(a) used to carry persons or property for compensation or a fee, including but not limited to the delivery of food or
     any other products; or
(b) while being used for ride-sharing.
However, a vehicle used in an ordinary car pool is covered.
We affirm this amendment.




                 W. C. E. Robinson                                             William E. Roberts
                     Secretary                                                      President




PPE1VS (05-14)
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                             GEICO'S PERSONAL UMBRELLA POLICY AMENDMENT
                             UNINSURED/UNDERINSURED MOTORISTS COVERAGE
                                               KANSAS
Your policy is amended to provide Uninsured/Underinsured Motorists Coverage subject to the following:

DEFINITIONS                                                           d) any person who is entitled to recover damages
                                                                         because of bodily injury sustained by an in-
1) Bodily injury means:                                                  sured under (a), (b), and (c) above.
    bodily injury to a person, including resulting sick-              If there is more than one insured, our limits of liabil-
    ness, disease or death.                                           ity will not be increased.
2) Farm auto means:                                                   This definition of insured applies only to this Unin-
    a truck type vehicle with a load capacity of 2000                 sured/Underinsured Motorists Coverage amendment.
    pounds or less, not used for commercial purposes              5) Insured auto is an auto:
    other than farming.
                                                                      a) for which a premium is charged under Section IV
3) Hit-and-Run motor vehicle is:                                         of the Declarations of the underlying GEICO auto
    A motor vehicle whose owner or operator cannot be                    policy, and which is covered by the bodily injury
    identified and which hits or which causes an occur-                  liability coverage of that policy;
    rence resulting in bodily injury without hitting:                 b) temporarily substituted for an insured auto
    a) you or any relative                                               when withdrawn from normal use because of its
                                                                         breakdown, repair, servicing, loss or destruction;
    b) a vehicle which you or any relative are occupy-                   or
       ing or
                                                                      c) operated by you or your spouse if a resident of
    c) your insured auto,                                                the same household;
    provided the insured or someone on his behalf;                         But the term insured auto does not include:
    a) reports the occurrence within 24 hours to a po-                     i.    an auto being used without the owner's
       lice, peace or judicial officer or the Commis-                            permission;
       sioner of Motor Vehicles;
                                                                           ii.   under subparagraphs b) and c) above, an
    b) files with us within 30 days a statement setting                          auto owned by or furnished for the regular
       forth the facts of the occurrence and claiming                            use of an insured.
       that the he has a cause of action for damages
       against an unidentified person; and                        6) Occupying means:

    c) makes available for inspection, at our request,                a)   in;
       the auto occupied by the insured at the time of                b)   upon;
       the accident.                                                  c)   entering into; or
                                                                      d)   alighting from.
    In an occurrence involving a hit-and-run vehicle
    where there has not been any physical contact with            7) Primary insurance means insurance:
    the hit-and-run vehicle, the facts of the occurrence              a) for which a minimum required liability limit is
    must be proven by reliable evidence from disinter-                   shown on the Declarations; and
    ested witnesses who are not making claim under this
    or similar coverage.                                              b) which is payable on behalf of an insured for li-
                                                                         ability for personal injury; and
4) Insured means:
                                                                      c) which must be maintained as a condition of the
    a) the individual named in the Declarations and his                  GEICO's Personal Umbrella Policy.
       or her spouse if a resident of the same house-
       hold;                                                      8) Private passenger auto means:
    b) relatives of (a) above if residents of his or her              a four-wheel private passenger, station wagon or
       household;                                                     jeep-type auto.
    c) any other person while occupying an insured
       auto; or



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9) Relative means:                                                    14) Utility auto means:
    a person related to you who resides in your house-                    a vehicle, other than a farm auto, with a load capac-
    hold.                                                                 ity of 2000 pounds or less of the pick-up body, van or
                                                                          panel truck type not used for commercial purposes.
10) State includes:
                                                                      15) You means:
    The District of Columbia, the states, territories and
    possessions of the United States of America and the                   the policyholder named in the Declarations and his or
    Provinces of Canada.                                                  her spouse if a resident of the same household.
11) Trailer means:                                                    LOSSES WE PAY
    a trailer designed to be towed by a private                       Under the Uninsured/Underinsured Motorists Coverage,
    passenger auto, if not being used for business or                 we will pay damages for bodily injury caused by
    commercial purposes with a vehicle other than a                   accident which the insured is legally entitled to recover
    private passenger, farm or utility auto.                          from the owner or operator of an uninsured or
                                                                      underinsured motor vehicle or hit-and-run motor
12) Uninsured motor vehicle is:
                                                                      vehicle arising out of the ownership, maintenance or use
    A motor vehicle which has no bodily injury liability              of that auto, provided that a premium is shown for
    bond or insurance policy applicable with liability lim-           Uninsured/Underinsured Motorists Coverage on the
    its complying with the financial responsibility law of            Policy Declarations.
    the state in which the insured auto is principally ga-
                                                                      The amount of the insured's recovery for these
    raged at the time of an occurrence. This term also in-
                                                                      damages will be determined by agreement between the
    cludes an auto which is insured by an insurer which
                                                                      insured or his or her representative and us.
    is or becomes insolvent or denies coverage and an
    Underinsured Motor Vehicle as defined.                            EXCLUSIONS
    The terms Uninsured Motor Vehicle and Underin-                    We do not provide coverage under this amendment for:
    sured Motor Vehicle do not include:
                                                                      1) Bodily injury to an insured if the insured or his or
    a) an insured auto                                                   her legal representative has made a settlement or
                                                                         has been awarded a judgment of his or her claim
    b) an auto owned or operated by a self insurer
                                                                         without our prior written consent.
       within the meaning of any motor vehicle finan-
       cial responsibility law, motor carrier law or any              2) Bodily injury to an insured while occupying or re-
       similar law;                                                      sulting from being struck by an uninsured or under-
    c) an auto owned by the United States of America,                    insured motor vehicle or trailer owned by or
       any other national government, a state, or a po-                  provided for the regular use of an insured or a
       litical subdivision of any such government or its                 relative.
       agencies;                                                      3) Any worker's compensation insurer, self-insurer or
    d) a land motor vehicle or trailer operated on rails                 disability benefits insurer.
       or crawler-treads or located for use as a resi-                4) The United States of America or any of its agencies
       dence or premises; or                                             as an insured, a third party beneficiary or otherwise.
    e) a farm-type tractor or equipment designed for                  LIMIT OF LIABILITY
       use principally off public roads, except while
       used upon public roads.                                        Regardless of the number of autos or trailers to which
                                                                      this policy applies:
13) Underinsured motor vehicle is:
                                                                      1) The limit of liability stated in the Declarations is the
    A motor vehicle with respect to which the sum of the                 total limit of our liability for all damages, including
    limits of liability under all bodily injury liability bonds          damages for care and loss of services, because of
    and insurance policies applicable at the time of the                 bodily injury sustained as the result of one
    occurrence is less than the Limits of Liability pro-                 occurrence regardless of the number of persons
    vided in your policy.                                                sustaining bodily injury.
                                                                      2) If, however, the bodily injury is caused by an under-
                                                                         insured motorist, the coverage will be limited to the
                                                                         difference between the limit of liability stated in the
                                                                         Declarations and the limits of bodily injury
                                                                         coverage




PPE2KS (4-01)                                            Policy Number:                                                Page 2 of 4
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     carried by the owner or operator of the under-
     insured motor vehicle.                                           1) We will be entitled to repayment of that amount out
                                                                         of any settlement or judgment the insured recovers
     This is the most we will pay regardless of the number
                                                                         from any person or organization legally responsible
     of:
                                                                         for the bodily injury.
a)   Policies;
                                                                      2) The insured will hold in trust for our benefit all rights
b)   Persons covered;
                                                                         of recovery which he or she may have against any
c)   Claims made;
                                                                         person or organization responsible for his or her
d)   Autos covered;
                                                                         damages. He or she will do whatever is necessary to
e)   Autos involved in the occurrence; or
                                                                         secure all rights of recovery and will do nothing after
f)   Premium paid or payable.
                                                                         the loss to prejudice these rights.
3) If separate policies with us are in effect for you or
                                                                      3) At our written request, the insured, in his or her own
   any person in your household, they may not be
                                                                         name, will take, through a designated representative,
   combined to increase the limit of liability for a loss.
                                                                         appropriate actions to recover payment for damages
4) If both primary insurance and this policy cover an                    from the legally responsible person or organization.
   occurrence, we pay only those damages which
                                                                      4) The insured will execute and furnish us with any
   exceed the uninsured motorists limits of the
                                                                         needed documents to secure his or her and our rights
   applicable primary policy.
                                                                         and obligations.
5) We will reduce any amount payable under the Limit
                                                                      CONDITIONS
   of Liability by all amounts:
                                                                      The following conditions apply only to the Unin-
     a) paid by or for all persons or organizations liable
                                                                      sured/Underinsured Motorists Coverage:
        for the injury;
                                                                      1) NOTICE
     b) paid or payable under the Bodily Injury or Per-
        sonal Injury Protection coverages of the primary                  As soon as possible after an occurrence, notice must
        policy;                                                           be given us or our authorized agent stating:
     c) paid or payable under any worker's compensa-                      a) the identity of the insured;
        tion law, disability benefits law or any similar law.
                                                                          b) the time, place and details of the occurrence;
6) In no event will a covered person be entitled to re-                      and
   ceive duplicate payment for the same elements of
                                                                          c) the names and addresses of the injured, and of
   loss.
                                                                             any witnesses.
7) We will pay under this amendment only after the lim-
                                                                          If the insured or his or her legal representative files
   its of liability under any applicable bodily injury li-
                                                                          suit before we make a settlement under this policy,
   ability bonds or policies have been exhausted by
                                                                          the insured must immediately provide us with a
   payment of judgments or settlements.
                                                                          copy of the pleadings.
OTHER INSURANCE
                                                                      2) ASSISTANCE AND COOPERATION OF THE IN-
When an insured occupies an auto not described in this                   SURED
policy, this policy is excess over any other similar insur-
ance available to the insured and the insurance which                     After we receive notice of a claim, we may:
applies to the occupied auto is primary.                                  a) require the insured to take any action necessary
Except as provided above, if the insured has other                           to preserve his or her recovery rights against any
                                                                             allegedly legally responsible person or organiza-
similar insurance available to him and applicable to the
                                                                             tion.
occurrence, the damages will be deemed not to exceed
the higher of the applicable limits of liability of this policy           b) require the insured to make that person or or-
and the other insurance. If the insured has other                            ganization a defendant in any action against us.
insurance against a loss covered by the Uninsured
Motorist provisions of this policy, we will not be liable for         3) ACTION AGAINST US
more than our pro-rata share of the total coverage                        Suit will not lie against us unless the insured or his
available.                                                                or her legal representative have fully complied with
                                                                          all the policy terms.
TRUST AGREEMENT
When we make a payment under this coverage:




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4) PROOF OF CLAIM-MEDICAL REPORTS                                 6) SUBROGATION
    As soon as possible, the insured or other person                  When we make payment under this policy, we shall
    making claim must give us written proof of claim,                 be subrogated to all rights of recovery, to the extent
    under oath if required. Such proof will include details           of our payment, that the insured may have against
    of the nature and extent of injuries, treatment and               any person or organization legally responsible for the
    other facts which may affect the amount payable.                  bodily injury. The insured will help us to enforce
                                                                      this right and will do nothing after loss to prejudice
    The insured and other persons making claim must
                                                                      this right. If the damages in connection with an
    submit to examination under oath by any person
                                                                      Underinsured Motorist claim exceed the policy limits
    named by us when and as often as we may
                                                                      of the negligent party's liability insurance, we shall be
    reasonably require. Proof of claim must be made on
                                                                      subrogated to all rights of recovery, to the extent of
    forms furnished by us unless we have not furnished
                                                                      our total payment, provided that:
    these forms within 15 days after receiving notice of
    claim.                                                            a) if the insured reached a tentative agreement
                                                                         with the negligent party's insurance carrier for
    The injured persons will submit to examination by
                                                                         payment of the liability policy limits, the insured
    doctors chosen by us, at our expense, as we may
                                                                         provides us with written notice by certified mail
    reasonably require. In the event of the insured's
                                                                         that such an agreement has been reached. The
    incapacity or death, the insured's legal representa-
                                                                         notice shall include written documentation of
    tive must, at our request, authorize us to obtain
                                                                         pecuniary losses including copies of all medical
    medical reports and copies of records.
                                                                         bills and written authorization or a court order to
5) PAYMENT OF LOSS                                                       obtain reports from all employers and medical
                                                                         providers; and
    Any amount due is payable:
                                                                      b) within 60 days of receipt of the written notice, we
    a) to the insured or his or her authorized represen-
                                                                         substitute payment to the insured for the ten-
       tative;
                                                                         tative agreement amount.
    b) if the insured is a minor, to his or her parent or
                                                                  7) MINIMUM REQUIRED UNINSURED MOTORISTS
       guardian; or
                                                                     LIABILITY LIMIT
    c) if the insured is deceased, to his or her surviving
                                                                      You agree with us to maintain the minimum required
       spouse; otherwise
                                                                      limit of liability for Uninsured Motorist Coverage on
    d) to a person authorized by law to receive the                   your current automobile policy. The minimum limit
       payment, or to a person legally entitled to re-                of liability is indicated on your GEICO's Personal
       cover payment for the damages.                                 Umbrella Policy declarations page.
    We may, at our option, pay any amount due in                  All other provisions of this policy apply.
    accordance with d) above.




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                                             PERSONAL UMBRELLA
                                              Kansas Option Form
                                          Uninsured Motorist Coverage
                                        (Includes Underinsured Motorist)


We now offer Uninsured Motorist Coverage (UM) for your Personal Umbrella policy. The limit of UM Coverage offered is
to equal the limit of Bodily Injury (BI) Liability on your Personal Umbrella policy.
Please indicate below whether you wish to carry this coverage or not. If UM Coverage is to be included on your Personal
Umbrella policy, we require that you carry limits of $300,000/$300,000 on your underlying automobile policy for UM
Bodily Injury Liability Coverage.

      I wish to carry UM Coverage on my Personal Umbrella policy. The price per vehicle will be $51.00. I understand
      that the UM limit on my automobile policy will be raised to $300,000/$300,000 if I do not already carry this limit.
      I wish to reject UM Coverage on my Personal Umbrella policy, and understand that UM coverage will not be
      provided by the Personal Umbrella policy.

Important: Please be sure to return this signed form to us. If you wish to carry UM Coverage, we cannot include
           it until you return this form.


Signed: ____________________________________________                          Date: __________________________

Policy Number:




*PPU1KS* *%7196540*                                                                            */15016*
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Government Employees Insurance Company                                               GEICO Advantage Insurance Company
GEICO General Insurance Company                                                       GEICO Choice Insurance Company
GEICO Indemnity Company                                                               GEICO Secure Insurance Company
GEICO Casualty Company                                                                GEICO Insurance Agency, Inc.
GEICO County Mutual Insurance Company



                                                 PRIVACY NOTICE

GEICO Respects Your Privacy
Protecting your privacy is very important to us. Policyholders like you have trusted us with their insurance needs since
1936, and we take our obligation to safeguard and secure your personal information very seriously. We want you to
understand how we protect your privacy and when we collect and use your information.


The Information We Collect                                       As permitted by law, we may also review your motor
Non-public personally identifiable information                   vehicle record and credit information in connection with
("Information") is information that identifies you and is not    any renewal.
available to the general public. The following sections tell     The Information We Disclose
you more about how and when we collect your                      Information about our customers or former customers
information.                                                     will only be disclosed as permitted or required by law.
Information We Obtain From You                                   Information about you that has been collected is
During the quoting, application, or claims handling              maintained in your policy and/or claims records.
processes you may give us Information such as your:              We use this information to process and service your policy;
• name                                                           to settle claims; with your consent; or as directed by you.
• address                                                        We may also disclose it to persons or organizations as
                                                                 necessary to perform transactions you request or authorize.
• phone number
                                                                 Information about our former customers and about
• Social Security number                                         individuals who have obtained quotes from us is
• driver's license number                                        safeguarded to the same extent as information about our
• date of birth                                                  current policyholders.
If you gave us your email address, GEICO may use it from         Following are some examples of how we may disclose in-
time to time to notify you of such things as new services,       formation:
special offers, or to confirm transactions. You can log in
                                                                      We must exchange Information about you with our
to your account at geico.com, click on "Update Email
                                                                      agents, investigators, appraisers, attorneys, and other
Preferences" on the right side of the screen and choose
                                                                      persons who are or will become involved in processing
the level of communication you'd like to receive from us.
                                                                      your application and servicing your policy or any
If you gave not enrolled online, you will need to en-
                                                                      claims you make make.
roll with geico.com to update your email preferences.
                                                                      When you are involved in a claim, policy information
Information About Your Transactions
                                                                      is provided to adjusters and the businesses that will
We may collect information about your transactions and                repair your vehicle.
experiences with us and others, such as your payment
                                                                      We may share information with persons or
history, claims, coverage, and vehicle changes.
                                                                      organizations that we have determined need the
Information From Third Parties                                        Information to perform a business, professional, or
We may receive information about you from consumer re-                insurance function for us. These include businesses
porting agencies, which provide us with motor vehicle                 that help us with administrative functions. If the law in
reports, claim reports, and/or credit information where               your state permits, we may share Information with
permitted by law. When you ask for a rate quotation, we               financial institutions with which we have a joint
may obtain credit information if permitted by applicable              marketing agreement. All of these entities are
state law.                                                            obligated to keep the Information that we provide to
Our sales and service representatives do not have access              them confidential and to use the Information only for
to the details of your credit information. Other companies            the purpose for which the Information was provided.
who view your credit report will not see the GEICO
inquiry. It will be visible only to you. Our inquiry will
not affect your credit score or credit rating. If you
commit to purchase a policy with GEICO, we will also
confirm your motor vehicle record and claims history.
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Information may be provided to organizations conducting         customer information, and we require them to sign
actuarial research or audits. In this case, you will not be     confidentiality and nondisclosure agreements. We
individually identified in any research report. The             maintain strict physical, electronic and procedural
organization must agree not to redisclose the Information       safeguards to protect your Information from unauthorized
and the Information will be returned to us or destroyed         access by third parties.
when it is no longer needed.                                    Changes to This Privacy Policy
We may also share your information for other permitted          Each of our policyholders receives a copy of our privacy
purposes, including:                                            policy at least once per year. In addition, in the event that
• with another insurance company if you are involved            we make a significant change to our privacy practices, we
    in an accident with their insured.                          will send a revised copy of our privacy policy to each of our
• with our reinsurers                                           current policyholders.
• with insurance-support organizations that detect and          What to Do if You Have Privacy or Security Concerns
    prevent fraud
                                                                If you have a concern about privacy or security at GEICO,
• among the GEICO companies listed above and
                                                                we want to hear about it by mail or email.
    other subsidiaries of GEICO Corporation to offer you
    additional products and services                            Please write to us at:
• with medical professionals or institutions in order to        Privacy Administration
    verify coverage or conduct operations or services           GEICO
    audits                                                      One GEICO Plaza
• with state insurance departments or other govern-             Washington, DC 20076
    mental or law enforcement authorities if required by
                                                                or email us at privacypolicy@geico.com.
    law or to protect our legal interests or in cases of
    suspected fraud or illegal activities                       This Privacy Policy applies to all of the companies listed
• if ordered by a subpoena, search warrant or other             at the top of this notice.
    court order
Confidentiality and Security
We restrict access to your Information to employees who
we have determined need it in order to provide products
or services to you. We train our employees to safeguard




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